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                    UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                      SEP 14 2023
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 ANANT KUMAR TRIPATI,                           No. 21-15902

               Plaintiff - Appellant,
                                                D.C. No. 4:18-cv-00066-RM
   v.                                           U.S. District Court for Arizona,
                                                Tucson
 CORIZON INCORPORATED; et al.,
                                                MANDATE
               Defendants - Appellees,

   v.

 ARIZONA BOARD OF NURSING and
 ARIZONA MEDICAL BOARD,

               Movants - Appellees.


        The judgment of this Court, entered August 23, 2023, takes effect this date.

        This constitutes the formal mandate of this Court for all parties except

Appellee Corizon Incorporated, issued pursuant to Rule 41(a) of the Federal Rules

of Appellate Procedure.

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT
